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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 11-cr-20698-SCOLA

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  LEROY PAIGE et al.,

        Defendants.
  ____________________________________ /

              ORDER REQUIRING MENTAL EVALUATION OF DEFENDANT
         THIS MATTER is before the Court on the Motion for Judicial Determination of Mental
  Competency [ECF No. 523], filed by Defendant Leroy Paige. At the status conference and
  hearing held on March 9, 2012, the Court inquired about this Motion and its premises. After
  careful consideration, the Court finds it appropriate to order a mental evaluation of Defendant.
         Pursuant to 18 U.S.C. § 4241(a), upon the Defendant’s request for a determination of
  mental competency, the Court shall grant the motion “if there is reasonable cause to believe that
  the defendant may presently be suffering from a mental disease or defect rendering him mentally
  incompetent to the extent that he is unable to understand the nature and consequences of the
  proceedings against him or to assist properly in his defense.” “The standard for competency to
  stand trial is whether the defendant has sufficient present ability to consult with his lawyer with a
  reasonable degree of rational understanding – and whether he has a rational as well as factual
  understanding of the proceedings against him.” See United States v. Bradley, 644 F.3d 1213,
  1268 (11th Cir. 2011) (citation omitted).
         Defendant’s counsel has expressed concerns about Defendant’s mental state and sanity
  because “defendant has not been able to discuss intelligently with counsel the facts concerning
  this case since he has been off of his HIV medication.” Mot. ¶ 2. Based upon this proffer and
  the information discerned during the March 9, 2012 hearing, the Court finds there is reasonable
  cause to order a psychiatric or psychological examination of the Defendant, and to order the
  examining doctor to prepare a report prior to any competency hearing. See 18 U.S.C. § 4241(b).
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         Accordingly, it is hereby ORDERED and ADJUDGED that the Defendant’s Motion for
  Judicial Determination of Mental Competency [ECF No. 523] is GRANTED as follows:
         1.     Under 18 U.S.C. § 4241(a) and (b), the Court orders a psychiatric/psychological
  examination of Defendant and a report of the examination by the examining doctor.
         2.     Pursuant to 18 U.S.C. § 4247(b), a designated qualified psychiatrist or
  psychologist with the Federal Bureau of Prisons at the FDC in Miami, Florida is ordered to
  perform the examination of Defendant and to prepare the associated report.
         3.     The examination of Defendant shall be completed forthwith and a report of the
  examination shall be filed with the Court by March 16, 2012.
         4.     The examination report shall conform to the requirements of 18 U.S.C. 4247(c),
  which mandates the inclusion of the following information:
                (a) the Defendant’s history and present symptoms;
                (b) a description of the psychiatric, psychological, and medical tests that were
         employed and their results;
                (c) the examiner’s findings; and
                (d) the examiner’s opinions as to Defendant’s diagnosis, prognosis, and whether
         he is suffering from a mental disease or defect rendering him mentally incompetent to the
         extent that he is unable to understand the nature and consequences of the proceedings
         against him or to assist properly in his defense. With regard to item (d), the report shall
         include the examining doctor’s conclusions as to whether Defendant presently has
         sufficient ability to consult with his counsel with a reasonable degree of rational
         understanding, and whether Defendant has a rational, as well as factual, understanding of
         the proceedings against him.
         5.     The cost for this evaluation shall be borne by the Department of Justice.
  See Guide to Judicial Policy & Procedure, vol. VII, chap. III, Part B, § 3.11(B) & Summary
  Chart (Administrative Office of the United States Courts).
         6.     The Court will hold a status conference to discuss Defendant’s mental
  examination and the report’s findings on March 19, 2012 at 10:30 a.m.
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          DONE and ORDERED in Chambers at Miami, Florida on March 9, 2012.


                                                ________________________________
                                                ROBERT N. SCOLA, JR.
                                                UNITED STATES DISTRICT JUDGE
  Copies to: Counsel of Record
